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               IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 In the matter of the Arbitration between:           §
                                                     §
 JANE DOE,                                           §
                                                     §
        Petitioner,                                  §
                                                     §
 v.                                                  §            CIVIL ACTION NO. 4:19-cv-04112
                                                     §
 MACQUARIE INVESTMENT                                §
 MANAGEMENT BUSINESS TRUST                           §
                                                     §
         Respondent.                                 §

             PETITIONER’S RESPONSE TO MACQUARIE’S MOTION FOR
             EXPEDITED CONSIDERATION OF ITS MOTION TO DISMISS

        There is no emergency. The sole basis for Macquarie’s request is that the parties are

“currently in the midst of an AAA arbitration that has been stayed.” (Resp’t Mot. at 1.) The

implication, apparently, is that the parties are in the middle of the arbitration’s evidentiary hearing,

and it is this final hearing (akin to a trial in this court) which has been stayed. But that is not true.

        The arbitration hearing was originally scheduled to occur two months from now, in January

2020. Moreover, before this lawsuit was even filed, Macquarie asked the arbitrator to move even

that date to March 30, 2020—five months from now. Petitioner did not oppose Macquarie’s

request, and the arbitrator indicated that she will grant the requested continuance.              Given

Macquarie’s previous request for a continuance of the arbitration hearing, its urgent request for

expedited consideration in this Court rings hollow.

        Finally, setting aside the fact that Macquarie’s request has no factual justification,

expedited consideration would actively harm Petitioner and her counsel. As Macquarie’s motion

seeks sanctions against Petitioner’s counsel (allegedly “[b]ecause Petitioner’s counsel’s actions

were tactically driven, in bad faith and without merit,” Doc. #8 at 3), the undersigned should not
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be deprived of a full and fair opportunity to defend himself against such serious accusations,

especially since Macquarie will not suffer any prejudice in the interim.

       Accordingly, Petitioner requests that the Court deny Macquarie’s request for expedited

consideration of its pending motion to dismiss and for sanctions.

                                                 Respectfully submitted,

                                                 STURM LAW, PLLC

                                                 /s/ Charles A. Sturm
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                               CERTIFICATE OF SERVICE

       I certify that this document was served on all counsel of record through the Electronic

Case Filing (“ECF”) System on October 30, 2019.


                                              /s/ Charles A. Sturm
                                             Charles A. Sturm




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